Filed 06/04/24                                                        Case 24-22456                                                                       Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                     Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                Mini Mania Inc.

  2.   All other names debtor
       used in the last 8 years
                                    Seven Mini Parts
       Include any assumed          DBA Sprintboostersales.com
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                  business

                                    870 Gold Flat Rd Ste A
                                    Nevada City, CA 95959-3200
                                    Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                    Nevada                                                        Location of principal assets, if different from principal
                                    County                                                        place of business

                                                                                                  Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       minimania.com


  6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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  Debtor    Mini Mania Inc.                                                                          Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                         B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  4413

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?
                                          Chapter 7
       A debtor who is a “small           Chapter 9
       business debtor” must check        Chapter 11. Check all that apply:
       the first sub-box. A debtor as
       defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
       (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
       “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       check the second sub-box.
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12
  9.   Were prior bankruptcy
       cases filed by or against
                                          No.
       the debtor within the last 8       Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                               When                                Case number
                                                   District                               When                                Case number




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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  Debtor    Mini Mania Inc.                                                                               Case number (if known)
            Name

  10. Are any bankruptcy cases
      pending or being filed by a
                                              No
      business partner or an                  Yes.
      affiliate of the debtor?




       List all cases. If more than 1,
       attach a separate list                         Debtor                                                                   Relationship
                                                      District                                When                             Case number, if known


  11. Why is the case filed in           Check all that apply:
      this district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or
      have possession of any
                                          No
      real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency
                                                                 Contact name
                                                                 Phone



            Statistical and administrative information

  13. Debtor's estimation of             .       Check one:
      available funds
                                                  Funds will be available for distribution to unsecured creditors.
                                                  After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
      creditors                           50-99                                          5001-10,000                               50,001-100,000
                                          100-199                                        10,001-25,000                             More than100,000
                                          200-999

  15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                          $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                          $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

  16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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  Debtor   Mini Mania Inc.                                                            Case number (if known)
           Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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                 /s/ Steven R. Fox
Filed 06/04/24                                                     Case 24-22456                                                                          Doc 1

     Fill in this information to identify the case:

     Debtor name        Mini Mania Inc.

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                                 amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                                 debtor's interest
     2.         Cash on hand                                                                                                                      $200.00



     3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
                Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                      number
                       Bank of America - value as of May 27,
                3.1.   2024                                           Checking                        7855                                  $22,378.83



                       Bank of America - value as of May 27,
                3.2.   2024                                           Payroll                         7751                                   $6,099.29



                       Bank of America - value as of May 27,
                3.3.   2024                                           Savings                         7873                                           $4.98



                       Bank of America - value as of May 27,
                3.4.   2024                                           Savings - Sinking Fund          1149                                        $292.41


                       Bank of America - value as of May 27,
                       2024, account in Seven Mini Parts
                3.5.   (relationship?) name                           Unknw                           9100                                   $1,330.81




                3.6.   BMO Harris Bank                                                                2454                                        $250.50


    Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 1
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     Debtor            Mini Mania Inc.                                                            Case number (If known)
                       Name



     4.         Other cash equivalents (Identify all)

     5.         Total of Part 1.                                                                                                         $30,556.82
                Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:           Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes Fill in the information below.
     7.         Deposits, including security deposits and utility deposits
                Description, including name of holder of deposit


                7.1.     Deposit with Mini-tec for a single customer project.                                                                 $6,153.00



     8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
                Description, including name of holder of prepayment


     9.         Total of Part 2.                                                                                                           $6,153.00
                Add lines 7 through 8. Copy the total to line 81.

     Part 3:           Accounts receivable
    10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.
     11.        Accounts receivable
                11a. 90 days old or less:                      7,300.40      -                                   0.00 = ....                  $7,300.40
                                             face amount                            doubtful or uncollectible accounts




                11b. Over 90 days old:                         7,110.23      -                             7,110.23 =....                          $0.00
                                             face amount                            doubtful or uncollectible accounts



     12.        Total of Part 3.                                                                                                           $7,300.40
                Current value on lines 11a + 11b = line 12. Copy the total to line 82.

     Part 4:           Investments
    13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes Fill in the information below.

     Part 5:           Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes Fill in the information below.
                General description                Date of the last              Net book value of         Valuation method used   Current value of
                                                   physical inventory            debtor's interest         for current value       debtor's interest
                                                                                 (Where available)
    Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                        page 2
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     Debtor       Mini Mania Inc.                                                         Case number (If known)
                  Name



     19.       Raw materials

     20.       Work in progress
               Automobile engines in
               remanufacturing                   Yearly cycle
               process.                          counts                           $42,391.67       Mgmt Opinion                      $86,603.37



     21.       Finished goods, including goods held for resale
               Repaired and
               remanufactured
               automobile engines.
               Value is moving average
               over the usual course of          Yearly cycle
               business.                         counts                          $313,919.67       Mgmt Opinion                     $858,288.60



     22.       Other inventory or supplies
               Engine build supplies
               (e.g. paint, nuts, bolts,
               washers, gaskets, covid
               safety supplies). Current
               value is approximate.             Ongoing                            $1,500.00      Mgmt Opinion                       $4,495.00




     23.       Total of Part 5.                                                                                                 $949,386.97
               Add lines 19 through 22. Copy the total to line 84.

     24.       Is any of the property listed in Part 5 perishable?
                No
                Yes
     25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
                No
                Yes. Book value                              Valuation method                         Current Value

     26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
                No
                Yes
     Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

     Part 7:      Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.
               General description                                        Net book value of        Valuation method used   Current value of
                                                                          debtor's interest        for current value       debtor's interest
                                                                          (Where available)

     39.       Office furniture


    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 3
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     Debtor       Mini Mania Inc.                                                                Case number (If known)
                  Name

               Desks, tables, furniture, file cabinets,
               bookcases etc.                                                          $146,180.92       Mgmt Opinion                       $3,330.00



     40.       Office fixtures
               Warehouse shelving, packing tables, pallet
               racks.                                                                   $73,676.66       Mgmt Opinion                       $4,385.00



     41.       Office equipment, including all computer equipment and
               communication systems equipment and software
               Desktop computers, laptops, and printers                                 $63,414.27       Mgmt Opinion                       $4,730.00


               Network services, routers, switches, battery
               backups                                                                  $70,031.57       Mgmt Opinion                       $4,200.00


               Accounting software. The Debtor uses a
               unique accounting software system to manage
               and track its accounts.                                                  $32,827.00       Mgmt Opinion                            $0.00



     42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
               books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
               collections; other collections, memorabilia, or collectibles

     43.       Total of Part 7.                                                                                                           $16,645.00
               Add lines 39 through 42. Copy the total to line 86.

     44.       Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes
     45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                No
                Yes
     Part 8:      Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.
               General description                                            Net book value of          Valuation method used   Current value of
               Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
               (i.e., VIN, HIN, or N-number)                                  (Where available)

     47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

               47.1.   2007 Mini Cooper "S" Hatchback.
                       Registered owners are the Debtor and
                       Jonathan Harvey                                                  $27,897.46       KBB                                $5,255.00


               47.2.   2018 Mini Cooper "S" Clubman.
                       Registered owners are the Debtor and
                       Jonathan Harvey                                                  $46,390.96       KBB                               $21,055.00




    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
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     Debtor       Mini Mania Inc.                                                             Case number (If known)
                  Name

               47.3.   1968 Morris Mini Cooper "S" Police Car                         $40,000.00          Balance Sheet                      $65,000.00



     48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
               floating homes, personal watercraft, and fishing vessels

     49.       Aircraft and accessories


     50.       Other machinery, fixtures, and equipment (excluding farm
               machinery and equipment)
               Engine parts washer                                                     $3,511.00          Mgmt Opinion                        Unknown


               Generac 14kW Generator                                                  $9,785.00          Mgmt Opinion                        Unknown


               Big Joe Power Pallet Jack                                               $5,000.00          Mgmt Opinion                        Unknown


               Toyota Forklift                                                        $16,204.00          Mgmt Opinion                       $23,950.00



     51.       Total of Part 8.                                                                                                         $115,260.00
               Add lines 47 through 50. Copy the total to line 87.

     52.       Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes
     53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
                No
                Yes
     Part 9:      Real property
    54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.
     55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

               Description and location of           Nature and             Net book value of             Valuation method used   Current value of
               property                              extent of              debtor's interest             for current value       debtor's interest
               Include street address or other       debtor's interest      (Where available)
               description such as Assessor          in property
               Parcel Number (APN), and type
               of property (for example,
               acreage, factory, warehouse,
               apartment or office building, if
               available.
               55.1. 870 Gold Flat Rd
                       Nevada City, CA               Lease
                       95959-3200                    Agreement                              $0.00         Mgmt Opinion                                $0.00




     56.       Total of Part 9.                                                                                                                  $0.00
               Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
               Copy the total to line 88.

     57.       Is a depreciation schedule available for any of the property listed in Part 9?
    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 5
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     Debtor        Mini Mania Inc.                                                             Case number (If known)
                   Name


                 No
                 Yes
     58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
                 No
                 Yes
     Part 10:      Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.
                General description                                         Net book value of          Valuation method used   Current value of
                                                                            debtor's interest          for current value       debtor's interest
                                                                            (Where available)

     60.        Patents, copyrights, trademarks, and trade secrets

     61.        Internet domain names and websites
                www.minimania.com
                www.7ent.com
                www.sprintboostersales.com
                www.morrismania.com
                www.spridgetmania.com                                                        $0.00     Mgmt Opinion                              $0.00



     62.        Licenses, franchises, and royalties

     63.        Customer lists, mailing lists, or other compilations
                Debtor collects customer name, address, city,
                state, zip code, email address, telephone
                number, and encrypted payment information.
                The Debtor has a privacy policy.                                             $0.00                                               $0.00



     64.        Other intangibles, or intellectual property

     65.        Goodwill
                Personal Goodwill of Donald F. Racine.                                       $0.00                                               $0.00



     66.        Total of Part 10.                                                                                                            $0.00
                Add lines 60 through 65. Copy the total to line 89.

     67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
                 No
                 Yes
     68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                 No
                 Yes
     69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
                 No
                 Yes
     Part 11:      All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.
    Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 6
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     Debtor      Mini Mania Inc.                                                         Case number (If known)
                 Name



        No. Go to Part 12.
        Yes Fill in the information below.
                                                                                                                  Current value of
                                                                                                                  debtor's interest


     71.      Notes receivable
              Description (include name of obligor)

     72.      Tax refunds and unused net operating losses (NOLs)
              Description (for example, federal, state, local)
              Employee Retention Tax Credit (ERTC)- $252,856.31.
              Value is uncertain.                                                         Tax year 2021                           $1.00



     73.      Interests in insurance policies or annuities

     74.      Causes of action against third parties (whether or not a lawsuit
              has been filed)

     75.      Other contingent and unliquidated claims or causes of action of
              every nature, including counterclaims of the debtor and rights to
              set off claims

     76.      Trusts, equitable or future interests in property

     77.      Other property of any kind not already listed Examples: Season tickets,
              country club membership

              Workers compensation refund 2023 premium audit.                                                                $7,327.00


              Funds withdrawn by PayPal from the Debtor's PayPal
              Account. PayPal is holding $22,491.37 based on a lien
              claim filed by FirstLine Advance, an MCA. Debtor
              understands PayPal holds the funds.                                                                           $22,491.37




     78.      Total of Part 11.                                                                                           $29,819.37
              Add lines 71 through 77. Copy the total to line 90.

     79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                          page 7
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     Debtor          Mini Mania Inc.                                                                                     Case number (If known)
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                            $30,556.82

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,153.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                       $7,300.40

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                             $949,386.97

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                          $16,645.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $115,260.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                  $29,819.37

     91. Total. Add lines 80 through 90 for each column                                                         $1,155,121.56            + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,155,121.56




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                        page 8
Filed 06/04/24                                           Case 24-22456                                        Doc 1
         Schedule A/B
         Inventory List

         Location           Description                                         Quantity Value Extnd Value
         Office Inventory
         Office 1           Desk - U Shape Workstation 31 1/2 x 180 / 24 x 50          1   35.00      35.00
         Office 1           Bookcase - Metal 36 x 29 x 12                              1   15.00      15.00
         Office 1           File Cabinet - Metal 2 Drawer                              2   15.00      30.00
         Office 1           Chair                                                      2   10.00      20.00
         Office 2           Desk - L Shape Workstation 31 1/2 x 183                    1   35.00      35.00
         Office 2           Bookcase - Wood 59 x 59 x 16                               1   15.00      15.00
         Office 2           Bookcase - Wood 73 x 17 x 16                               1   15.00      15.00
         Office 2           File Cabinet - Metal 2 Drawer                              1   15.00      15.00
         Office 2           File Cabinet - Wood 2 Drawer                               1   15.00      15.00
         Office 2           Chair                                                      2   10.00      20.00
         Office 3           Desk - L Shape Workstation 31 1/2 x 183                    1   35.00      35.00
         Office 3           Bookcase - Wood 17 x 16 x 73                               1   15.00      15.00
         Office 3           Bookcase - Wood 32 x 11 x 80                               1   15.00      15.00
         Office 3           File Cabinet - Metal 2 Drawer                              2   15.00      30.00
         Office 3           File Cabinet - Wood 2 Drawer                               1   15.00      15.00
         Office 3           Chair                                                      2   10.00      20.00
         Office 4           Desk - L Shape Workstation 31 1/2 x 183                    1   35.00      35.00
         Office 4           Bookcase - Wood 32 x 11 x 80                               2   15.00      30.00
         Office 4           File Cabinet - Metal 2 Drawer                              1   15.00      15.00
         Office 4           File Cabinet - Wood 2 Drawer                               2   15.00      30.00
         Office 4           Chair                                                      2   10.00      20.00
         Office 5           Desk - L Shape Workstation 31 1/2 x 183                    1   35.00      35.00
         Office 5           Bookcase - Wood 32 x 11 x 42                               1   15.00      15.00
         Office 5           File Cabinet - Metal 2 Drawer                              1   15.00      15.00
         Office 5           File Cabinet - Wood 2 Drawer                               1   15.00      15.00
         Office 6           Desk - L Shape Workstation 31 1/2 x 183                    1   35.00      35.00
         Office 6           Bookcase - Wood 33 x 13 x 80                               1   15.00      15.00
         Office 6           File Cabinet - Metal 2 Drawer                              2   15.00      30.00
         Office 6           File Cabinet - Wood Lateral 33 x 24 x 30                   2   15.00      30.00
         Office 6           Chair                                                      1   10.00      10.00
         Marketing Office   Desk - U Shape Workstation 38 x 170 / 2 x 115              1   35.00      35.00
Filed 06/04/24                                            Case 24-22456                                     Doc 1
         Schedule A/B
         Inventory List

         Location            Description                                      Quantity Value Extnd Value
         Marketing Office    Bookcase - Metal 42 x 13 x 36                           1 15.00        15.00
         Marketing Office    File Cabinet - Metal 2 Drawer                           3 15.00        45.00
         Marketing Office    Chair                                                   1 10.00        10.00
         Office 7            Desk - L Shape Workstation 115 x 38 x 122               1 35.00        35.00
         Office 7            File Cabinet - Metal 2 Drawer                           1 15.00        15.00
         Office 7            File Cabinet - Metal Lateral 42 x 18 X 29               1 15.00        15.00
         Office 7            Bookcase - Wood 59 x 10 x 59                            1 15.00        15.00
         Common Area         Desk - Workstation 31 1/2 x 203                         1 35.00        35.00
         Common Area         Bookcase - Metal 36 x 13 x 64                           1 15.00        15.00
         Common Area         File Cabinet - Metal 5 Drawer 42 x 19 x 67              1 15.00        15.00
         Common Area         Photo Light System / 3 Lights and Paper Hanger          1 100.00      100.00
         Common Area         Folding Chair - Cloth seat                             12 10.00       120.00
         Common Area         File Cabinet - 6 drawer Map size 33 x 17 x 47           1 15.00        15.00
         Common Area         Bookcase - Metal 37 x 13 x 87                           2 15.00        30.00
         Common Area         Generator - EG 10,000 Echo Gas Generator 8.5K           1 250.00      250.00
         Common Area         Generator - 7,000 Watt Preditor                         1 250.00      250.00
         IT Office           Desk - L Shape Workstation 115 x 38 x 122               1 35.00        35.00
         IT Office           Desk - 42 x 30                                          2 35.00        70.00
         IT Office           File Cabinet - Wood 2 drawer                            1 15.00        15.00
         IT Office           File Cabinet - Cabinet 4 drawer                         1 15.00        15.00
         IT Office           Chair                                                   1 10.00        10.00
         Presidents Office   Desk - Wood 71 x 42                                     1 35.00        35.00
         Presidents Office   Credenza 71 x 22 x 24                                   1 35.00        35.00
         Presidents Office   File Cabinet - Wood 2 drawer                            1 15.00        15.00
         Presidents Office   File Cabinet - Wood Lateral 35 X 22 X 30                1 15.00        15.00
         Presidents Office   Bookcase - Wood 33 x 16 x 56                            2 15.00        30.00
         Presidents Office   End Table Glass Top 21 x 24                             1 10.00        10.00
         Presidents Office   Chair                                                   3 10.00        30.00
         Conference Room     Conference Table with 9 chairs 86 x 40                  1 35.00        35.00
         Conference Room     Chair                                                   2 10.00        20.00
         Conference Room     Chair - Leather                                         2 10.00        20.00
         Kitchen Upstairs    Refrigerator - LG Stainless 31 x 30 x 66                1 300.00      300.00
         Kitchen Upstairs    Coffee Maker - Kureig                                   1 15.00        15.00
Filed 06/04/24                                                Case 24-22456                                 Doc 1
         Schedule A/B
         Inventory List

         Location                Description                                  Quantity Value Extnd Value
         Kitchen Upstairs        Toaster Oven - Cuisenart                            1 15.00        15.00
         Kitchen Upstairs        Microwave - Sharp                                   1 20.00        20.00
         Kitchen Downstairs      Refrigerator - Kenmore 30 x 33 x 67                 1 100.00      100.00
         Kitchen Downstairs      Coffee Maker - Kureig                               1 15.00        15.00
         Kitchen Downstairs      Toaster Oven - Cuisenart                            1 15.00        15.00
         Kitchen Downstairs      Microwave - Panasonic                               1 20.00        20.00
         Kitchen Downstairs      Desk - 42 x 30                                      1 35.00        35.00
         Kitchen Downstairs      Table - 36 x 72                                     1 35.00        35.00
         Sales Office 1          Desk - L Shape Workstation 79 x 79 x 32             1 35.00        35.00
         Sales Office 1          File Cabinet - Metal 4 Drawer                       1 15.00        15.00
         Sales Office 1          File Cabinet - Wood 2 Drawer                        2 15.00        30.00
         Sales Office 1          Stand up Desk Extention                             1 10.00        10.00
         Sales Office 1          Chair                                               1 10.00        10.00
         Sales Office 2          Desk - L Shape Workstation 63 x 79 x 32             1 35.00        35.00
         Sales Office 2          Chair                                               1 10.00        10.00
         Common Area Showroom    Bookshelf Woosd 31 x 10 x 29                        1 15.00        15.00
         Common Area Showroom    Display Cabinet Glass 60 x 20 x 38                  1 15.00        15.00
         Common Area Showroom    Display Cabinet Glass 72 x 18 x 38                  1 15.00        15.00
         Receptionist Area       Desk - 30 x 30                                      2 35.00        70.00
         Receptionist Area       Desk Extension with file cabinet 31 x 24            2 15.00        30.00
         Receptionist Area       File Cabinet 2 Drawer 36 x 22                       1 15.00        15.00
         Receptionist Area       File Cabinet Metal 2 Drawer                         1 15.00        15.00
         Receptionist Area       Reception Partition 156 x 12                        1 15.00        15.00
         Receptionist Area       Chair                                               1 10.00        10.00
         Warehouse               Desk - L Shape Workstation 115 x 38 x 122           1 35.00        35.00
         Warehouse               Desk - 42 x 30                                      4 30.00       120.00
         By Kitchen Downstairs   File Cabinet - 2 Drawer                             1 15.00        15.00
         By Kitchen Downstairs   Bookshelf - Metal 30 x 12 x 43                      1 15.00        15.00
         Warehouse Manager       Desk - Wood 60 x 30                                 1 35.00        35.00
         Warehouse Manager       File Cabinet - Wood 2 Drawer                        1 15.00        15.00
         Warehouse Manager       Chair                                               2 10.00        20.00
         Extra Desk              Desk - Wood 72 x 36                                 1 35.00        35.00
         Mechanic                Desk - Metal 60 X 30                                1 35.00        35.00
Filed 06/04/24                                                 Case 24-22456                                 Doc 1
         Schedule A/B
         Inventory List

         Location             Description                                      Quantity Value Extnd Value
         Mechanic             Chair                                                   1   10.00      10.00
         Computer Inventory
         Office 1             Computer All in one HP                                  1 100.00      100.00
         Office 1             Monitor                                                 2 15.00        30.00
         Office 1             UPS Battery Backup                                      1 20.00        20.00
         Office 2             Computer - All in on IMAC                               1 200.00      200.00
         Office 2             Computer - Dell Optiplex 70/60                          1 100.00      100.00
         Office 2             Monitor                                                 1 15.00        15.00
         Office 2             UPS Battery Backup                                      1 20.00        20.00
         Office 3             Computer - All in one HP                                1 100.00      100.00
         Office 3             Monitor                                                 1 15.00        15.00
         Office 3             UPS Battery Backup                                      1 20.00        20.00
         Office 3             Printer - HP Laser Jet                                  1 20.00        20.00
         Office 4             Computer - Dell Optiplex 50/70                          1 100.00      100.00
         Office 4             Monitor                                                 1 15.00        15.00
         Office 4             UPS Battery Backup                                      1 20.00        20.00
         Office 4             Printer - HP Ink Jet                                    1 20.00        20.00
         Office 5             Computer - Dell Optiplex 70/40                          1 100.00      100.00
         Office 5             Monitor                                                 3 15.00        45.00
         Office 5             UPS Battery Backup                                      1 20.00        20.00
         Office 6             Computer - Dell Optiplex XE2                            1 100.00      100.00
         Office 6             Monitor                                                 2 15.00        30.00
         Office 6             UPS Battery Backup                                      1 20.00        20.00
         Office 6             Printer - HP Laser Jet                                  1 20.00        20.00
         Marketing Office     Computer - Dell Optiplex 50/80                          1 100.00      100.00
         Marketing Office     Monitor                                                 2 15.00        30.00
         Marketing Office     Vinyl Cutter 30"                                        1 100.00      100.00
         Marketing Office     Monitor - Extra                                         1 15.00        15.00
         Marketing Office     UPS Battery Backup                                      1 20.00        20.00
         Office 7             Computer - Laptop HP 87/60                              1 50.00        50.00
         Office 7             Monitor                                                 2 15.00        30.00
         Office 7             UPS Battery Backup                                      1 20.00        20.00
Filed 06/04/24                                                 Case 24-22456                                 Doc 1
         Schedule A/B
         Inventory List

         Location             Description                                      Quantity Value Extnd Value
         Office 7             Docking Station                                         1 15.00        15.00
         Common Area          Printer - HP Laser Jet                                  1 20.00        20.00
         IT Office            Computer - All in one Linovo                            3 100.00      300.00
         IT Office            Computer - All in one HP                                1 100.00      100.00
         IT Office            Computer - All in one Dell                              1 100.00      100.00
         IT Office            Computer - Desktop                                      4 100.00      400.00
         IT Office            Monitor                                                 8 15.00       120.00
         President's Office   Monitor - LG HD 54"                                     2 15.00        30.00
         President's Office   UPS Battery Backup                                      1 20.00        20.00
         President's Office   Printer - HP Laser Jet                                  1 20.00        20.00
         Conference Room      Computer - Dell Optiplex XE2                            1 100.00      100.00
         Conference Room      Monitor - Pioneer HD 60 "                               1 300.00      300.00
         Sales Office 1       Computer - All in one Dell                              1 100.00      100.00
         Sales Office 1       Monitor                                                 1 15.00        15.00
         Sales Office 1       Printer - Laser Jet HP                                  1 20.00        20.00
         Sales Office 2       Computer - Dell Optiplex 30/30                          1 100.00      100.00
         Sales Office 2       Monitor                                                 2 15.00        30.00
         Common Area          Computer - All in one Lenovo                            1 100.00      100.00
         Receptionist         Computer - All in one HP                                1 100.00      100.00
         Receptionist         UPS Battery Backup                                      1 20.00        20.00
         Picking              Computer - All in one Lenovo                            1 100.00      100.00
         Picking              Computer - Dell PC                                      1 100.00      100.00
         Picking              Monitor                                                 1 15.00        15.00
         Picking              UPS Battery Backup                                      1 20.00        20.00
         Picking              Printer - Laser Jet HP                                  1 20.00        20.00
         Picking              Printer - Zebra                                         1 50.00        50.00
         Picking              Monitor                                                 1 15.00        15.00
         Picking              UPS Battery Backup                                      1 20.00        20.00
         Shipping Desk        Computer - Dell Opiplex XE3                             2 100.00      200.00
         Shipping Desk        Monitor                                                 4 15.00        60.00
         Shipping Desk        UPS Battery Backup                                      2 20.00        40.00
         Shipping Desk        Printer - Laser Jet HP                                  1 50.00        50.00
         Shipping Desk        Printer - Zebra                                         3 50.00       150.00
Filed 06/04/24                                                  Case 24-22456                                 Doc 1
         Schedule A/B
         Inventory List

         Location                Description                                    Quantity Value Extnd Value
         Warehouse Manager       Computer - Dell Optiplex XE2                          1 100.00      100.00
         Warehouse Manager       Monitor                                               2 15.00        30.00
         Warehouse Manager       UPS Battery Backup                                    1 20.00        20.00
         Warehouse Manager       Printer - HP Laser Jet                                2 20.00        40.00
         Warehouse Manager       Printer - Zebra                                       1 50.00        50.00
         Extra Desk              Monitor                                               2 15.00        30.00
         Engine Shop             Computer - Dell                                       1 100.00      100.00
         Engine Shop             Monitor                                               1 15.00        15.00
         Server Room Inventory
         Network Server Room     Dell PowerEdge R900 Server                            2 200.00      400.00
         Network Server Room     Dell PowerEdge R730 Server                            2 500.00     1000.00
         Network Server Room     Dell PowerEdge 2950 Server                            2 100.00      200.00
         Network Server Room     APC UPS Battery Backup                                2 200.00      400.00
         Network Server Room     Western Digital Network Attached Storage              1 200.00      200.00
         Network Server Room     Synology Network Attached Storage                     1 500.00      500.00
         Network Server Room     HP ProCurve Smart Switch - 24 Port                    5 200.00     1000.00
         Network Server Room     TP Link Switch - 24 Port                              1 50.00        50.00
         Network Server Room     Varoius Network Patch Panels                          9 50.00       450.00
         Warehouse Inventory
         Warehouse               3x1                                                 176   15.00    2640.00
         Warehouse               3x2                                                  61   15.00     915.00
         Warehouse               4x2                                                   6   15.00      90.00
         Warehouse               6x2                                                   2   20.00      40.00
         Warehouse               8x2                                                   2   20.00      40.00
         Warehouse               6x4 Pallet Racks                                      3   20.00      60.00
         Warehouse               8x4 Pallet Racks                                      4   25.00     100.00
         Warehouse               9x4 Pallet Racks                                      2   30.00      60.00
         Warehouse               12x4 Pallet Racks                                     6   40.00     240.00
         Warehouse               Temco Parts Washer                                    1   50.00      50.00
         Warehouse               Oil Eater: Flex Line II                               1   50.00      50.00
         Warehouse               Ingersol-Rand T30 Compressor                          1   50.00      50.00
         Warehouse               Skat Blast Abrasive Blast Cabinet                     1   50.00      50.00
Filed 06/04/24                                                                   Case 24-22456                                                                           Doc 1

     Fill in this information to identify the case:

     Debtor name          Mini Mania Inc.

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
            Amazon Capital Services,
     2.1                                                                                                                         $4,973.20                       $0.00
            Inc.                                         Describe debtor's property that is subject to a lien
            Creditor's Name                              All assets. Fifth (5) position.
            dba Amazon Lending
            410 Terry Ave N
            Seattle, WA 98109
            Creditor's mailing address                   Describe the lien
                                                         UCC-1: U220210272423
                                                         Is the creditor an insider or related party?
                                                          No
            Creditor's email address, if known            Yes
                                                         Is anyone else liable on this claim?
            Date debt was incurred                        No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an                As of the petition filing date, the claim is:
            interest in the same property?               Check all that apply
             No                                          Contingent
             Yes. Specify each creditor,                 Unliquidated
            including this creditor and its relative      Disputed
            priority.



            American Express National
     2.2                                                                                                                       $60,120.53                        $0.00
            Bank                                         Describe debtor's property that is subject to a lien
            Creditor's Name                              All assets. Second (2) position.
            4315 South 2700 West
            Salt Lake City, UT 84184
            Creditor's mailing address                   Describe the lien
                                                         UCC-1: 19-7701639659
                                                         Is the creditor an insider or related party?
                                                          No
            Creditor's email address, if known            Yes
                                                         Is anyone else liable on this claim?
            Date debt was incurred                        No
            April, 2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number




    Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 6
Filed 06/04/24                                                                 Case 24-22456                                                           Doc 1

     Debtor      Mini Mania Inc.                                                                       Case number (if known)
                 Name

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



     2.3   Arena Funding Source LLC                    Describe debtor's property that is subject to a lien                      $85,062.25   $0.00
           Creditor's Name                             All assets. Ninth (9) position.
                                                       Second UCC-1 Filed: UCC-1: U230049487543
           66 West Flagler St Ste 900
           Miami, FL 33130
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: 230035775832
                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative
           priority.
                                                        Disputed


     2.4   Bank of America, N.A.                       Describe debtor's property that is subject to a lien                     $192,478.22   $0.00
           Creditor's Name                             UCC-1 filed in 2011, continued in 2021,
                                                       continued in 2023. All assets. First (1)
           1075 Main St                                position.
           Waltham, MA 02451
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: 11-7280051277
                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
           July, 2019                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           3169
           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



     2.5   CHTD Company                                Describe debtor's property that is subject to a lien                           $0.00   $0.00
           Creditor's Name                             Representative for the secured creditor entity
           As Representative                           not listed in the UCC-1. Claimant unknown.
           PO Box 2576                                 All assets. Third (3) position.
           Springfield, IL 62708
           Creditor's mailing address                  Describe the lien
                                                       UCC-1 Filing: U210110098322


    Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 2 of 6
Filed 06/04/24                                                                 Case 24-22456                                                          Doc 1

     Debtor      Mini Mania Inc.                                                                       Case number (if known)
                 Name

                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



           Corporation Service
     2.6                                                                                                                        $60,339.80   $0.00
           Company                                     Describe debtor's property that is subject to a lien
           Creditor's Name                             Representative the for secured creditor entity
           As Representative                           not listed in the UCC-1. All assets. Seventh
           PO Box 2576                                 (7) position. Believed to represent MCA GFE.
           Springfield, IL 62708
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: U220240163327
                                                       Is the creditor an insider or related party?
           uccsprep@cscglobal.com                       No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



           CT Corporation System As
     2.7                                                                                                                             $0.00   $0.00
           Rep                                         Describe debtor's property that is subject to a lien
           Creditor's Name                             Representative for the secured creditor entity
                                                       not listed in the UCC-1. All assets. Fourth (4)
                                                       position. Believed to represent Fox Funding,
           Attn: SPRS                                  which was paid in full. Listed here because
           330 N Brand Blvd Ste 700                    FF did not remove lien.
           Glendale, CA 91203
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: U220163005816
                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply




    Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                      page 3 of 6
Filed 06/04/24                                                                 Case 24-22456                                                          Doc 1

     Debtor      Mini Mania Inc.                                                                       Case number (if known)
                 Name

            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



           CT Corporation System As
     2.8                                                                                                                        $52,257.50   $0.00
           Rep                                         Describe debtor's property that is subject to a lien
           Creditor's Name                             Representative for the secured creditor entity
                                                       not listed in the UCC-1. All receivables. Sixth
           Attn: SPRS                                  (6) position. Believed to represent Unique
           330 N Brand Blvd Ste 700                    Funding Solutions.
           Glendale, CA 91203
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: U220226322731
                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



           CT Corporation System As
     2.9                                                                                                                        $22,500.00   $0.00
           Rep                                         Describe debtor's property that is subject to a lien
           Creditor's Name                             Representative for the secured creditor entity
                                                       not listed in the UCC-1. All receivables.
           Attn: SPRS                                  Eighth (8) position. Believed to represent
           330 N Brand Blvd Ste 700                    MCA UFS West LLC.
           Glendale, CA 91203
           Creditor's mailing address                  Describe the lien
                                                       UCC-1: U230012504316
                                                       Is the creditor an insider or related party?
                                                        No
           Creditor's email address, if known           Yes
                                                       Is anyone else liable on this claim?
           Date debt was incurred                       No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an               As of the petition filing date, the claim is:
           interest in the same property?              Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
           including this creditor and its relative     Disputed
           priority.



     2.1   CT Corporation System As
     0     Rep                                         Describe debtor's property that is subject to a lien                     $94,000.00   $0.00




    Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                      page 4 of 6
Filed 06/04/24                                                                  Case 24-22456                                                                             Doc 1

     Debtor       Mini Mania Inc.                                                                       Case number (if known)
                  Name

            Creditor's Name                             Representative for the secured creditor entity
                                                        not listed in the UCC-1. All assets. Tenth (10)
            Attn: SPRS                                  position. Believed to represent MCA Firstline
            330 N Brand Blvd Ste 700                    Advance
            Glendale, CA 91203
            Creditor's mailing address                  Describe the lien
                                                        UCC-1: 230082863937
                                                        Is the creditor an insider or related party?
                                                         No
            Creditor's email address, if known           Yes
                                                        Is anyone else liable on this claim?
            Date debt was incurred                       No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an               As of the petition filing date, the claim is:
            interest in the same property?              Check all that apply
             No                                         Contingent
             Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative     Disputed
            priority.



     2.1
     1      Goldman Sachs Bank USA                      Describe debtor's property that is subject to a lien                      $34,050.28                    $0.00
            Creditor's Name                             All assets. Eleventh (11) position.
            PO Box 45400
            Salt Lake City, UT 84145
            Creditor's mailing address                  Describe the lien
                                                        UCC-1: U240018984641
                                                        Is the creditor an insider or related party?
                                                         No
            Creditor's email address, if known           Yes
                                                        Is anyone else liable on this claim?
            Date debt was incurred                       No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number
            2721
            Do multiple creditors have an               As of the petition filing date, the claim is:
            interest in the same property?              Check all that apply
             No                                         Contingent
             Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative     Disputed
            priority.



     3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $605,781.78

     Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                                   you enter the related creditor?   account number for
                                                                                                                                                     this entity
             Firstline Advance LLC
             c/o The LLC                                                                                         Line   2.10
             99 Wall Street, 2615
             New York, NY 10005



    Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 6
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     Debtor   Mini Mania Inc.                                                      Case number (if known)
              Name

          Fox Capital Funding LLC
          65 Broadway Ste 804                                                              Line   2.7
          New York, NY 10006

          Global Funding Experts
          27-01 Queens Plaza North Ste 802                                                 Line   2.6
          Long Island City, NY 11101

          UFS West LLC
          c/o Platinum Agent Services LLC                                                  Line   2.9
          99 West Hawthorne Ave Ste 408
          Valley Stream, NY 11580

          Unique Funding Solutions LLC
          71 South Central Ave 2nd Flr                                                     Line   2.8
          Valley Stream, NY 11580

          White Road Capital LLC Series 146472
          DBA GFE Holdings                                                                 Line   2.6
          27-01 Queens Plaza N.
          Long Island City, NY 11101




    Official Form 206D          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property   page 6 of 6
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     Fill in this information to identify the case:

     Debtor name        Mini Mania Inc.

     United States Bankruptcy Court for the:          EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                    amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

               No. Go to Part 2.
               Yes. Go to line 2.
           2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
              with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

     2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $200.00        $200.00
               Bureau of Automotive Repair                         Check all that apply.
               LICENSING UNIT                                       Contingent
               P.O. BOX 989001                                      Unliquidated
               WEST SACRAMENTO, CA                                  Disputed
               95798-9001
               Date or dates debt was incurred                     Basis for the claim:
                                                                   Fees.
               Last 4 digits of account number                     Is the claim subject to offset?
               Specify Code subsection of PRIORITY                  No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                    Yes

     2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $8,253.76        $8,253.76
               California Dept of Tax & Fee                        Check all that apply.
               Admin                                                Contingent
               Bankruptcy Team MIC: 74                              Unliquidated
               PO Box 942879                                        Disputed
               Sacramento, CA 94279-3555
               Date or dates debt was incurred                     Basis for the claim:
               April, 2024                                         1st Quarter 2024
               Last 4 digits of account number 8315                Is the claim subject to offset?

               Specify Code subsection of PRIORITY                  No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                    Yes




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     Debtor     Mini Mania Inc.                                                                           Case number (if known)
                Name

     2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
              Employment Development                             Check all that apply.
              Department                                          Contingent
              Bankruptcy Group MIC 92E                            Unliquidated
              PO Box 826880                                       Disputed
              Sacramento, CA 94280-0001
              Date or dates debt was incurred                    Basis for the claim:
                                                                 For notification purposes.
              Last 4 digits of account number                    Is the claim subject to offset?
              Specify Code subsection of PRIORITY                 No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes

     2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
              Franchise Tax Board                                Check all that apply.
              Bankruptcy, PIT MS A340                             Contingent
              PO Box 2952                                         Unliquidated
              Sacramento, CA 95812-2952                           Disputed
              Date or dates debt was incurred                    Basis for the claim:
                                                                 For notification purposes
              Last 4 digits of account number                    Is the claim subject to offset?
              Specify Code subsection of PRIORITY                 No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes

     2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
              Internal Revenue Service                           Check all that apply.
              PO Box 7346                                         Contingent
              Philadelphia, PA 19101-7346                         Unliquidated
                                                                  Disputed
              Date or dates debt was incurred                    Basis for the claim:
                                                                 For notification purposes.
              Last 4 digits of account number                    Is the claim subject to offset?
              Specify Code subsection of PRIORITY                 No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes

     2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $146.00   $146.00
              Ohio Bureau of Workers                             Check all that apply.
              Compensation                                        Contingent
              30 W. Spring St                                     Unliquidated
              Columbus, OH 43215-2256                             Disputed
              Date or dates debt was incurred                    Basis for the claim:
                                                                 Workers compensation fees
              Last 4 digits of account number                    Is the claim subject to offset?
              Specify Code subsection of PRIORITY                 No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes




    Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2 of 18
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     Debtor       Mini Mania Inc.                                                                            Case number (if known)
                  Name

     2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $174.00   $174.00
               US Customs and Borders                               Check all that apply.
               Office of Chief Counsel                               Contingent
               1300 Pennsylvania Ave Ste 4.4-B                       Unliquidated
               Washington, DC 20229                                  Disputed
               Date or dates debt was incurred                      Basis for the claim:
                                                                    (Address pulled from CBP website [process
                                                                    address])
               Last 4 digits of account number                      Is the claim subject to offset?
               Specify Code subsection of PRIORITY                   No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     Yes


     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                          Amount of claim

     3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $274.80
               AARP (Amer Assn of Retired Persons)                                 Contingent
               United Healthcare Insurance Co                                      Unliquidated
               PO BOX 660291                                                       Disputed
               DALLAS, TX 75266-0291
                                                                                  Basis for the claim: Insurance
               Date(s) debt was incurred
               Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
     3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,195.60
               ABS MOTORSPORT
               UNIT 40, BINBROOK TECHNICAL PARK                                    Contingent
               BINBROOK                                                            Unliquidated
               LINCOLNSHIRE, LN8 6HF                                               Disputed
               United Kingdom
                                                                                  Basis for the claim: Vendor/services.
               Date(s) debt was incurred
               Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
     3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,608.40
               ADP Payroll Small Business Services                                 Contingent
               Attn: CEO, President, Officer                                       Unliquidated
               6300 Canoga Ave Ste 400B                                            Disputed
               Woodland Hills, CA 91367
                                                                                  Basis for the claim: Payroll processor. Debtor believes this was paid.
               Date(s) debt was incurred
               Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
     3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $619.20
               ADVANCED PERFORMANCE TECHNOLOGY                                     Contingent
               595 Iowa Ave Ste C                                                  Unliquidated
               RIVERSIDE, CA 92507                                                 Disputed
               Date(s) debt was incurred
                                                                                  Basis for the claim: Vendor/services.
               Last 4 digits of account number
                                                                                  Is the claim subject to offset?    No  Yes
     3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $298.20
               ALEXANDER RACING ENTERPRISES                                        Contingent
               324 Progress Ave                                                    Unliquidated
               WATERLOO, IA 50701                                                  Disputed
               Date(s) debt was incurred
                                                                                  Basis for the claim: Vendor/Services.
               Last 4 digits of account number
                                                                                  Is the claim subject to offset?    No  Yes

    Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 18
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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,010.71
              Allfab, Inc.                                               Contingent
              MINI-FINI                                                  Unliquidated
              2273 WILLIAMS RD.                                          Disputed
              COLUMBUS, OH 43207-5121
                                                                        Basis for the claim: Vendor/services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $134.90
              American Express Business Blue                             Contingent
              PO BOX 981535                                              Unliquidated
              EL PASO, TX 79998-1535                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,784.21
              American Express Business Blue                             Contingent
              PO BOX 981535                                              Unliquidated
              EL PASO, TX 79998-1535                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $37,644.34
              American Express National Bank                             Contingent
              4315 South 2700 West                                       Unliquidated
              Salt Lake City, UT 84184                                   Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Credit card. Business platinum
              Last 4 digits of account number 1000
                                                                        Is the claim subject to offset?    No  Yes
     3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,273.96
              American Express National Bank                             Contingent
              4315 South 2700 West                                       Unliquidated
              Salt Lake City, UT 84184                                   Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Credit card. Business blue
              Last 4 digits of account number 1008
                                                                        Is the claim subject to offset?    No  Yes
     3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,586.10
              American Express National Bank                             Contingent
              4315 South 2700 West                                       Unliquidated
              Salt Lake City, UT 84184                                   Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Credit card in Debtor's President's name used for
              Last 4 digits of account number 1006                      Debtor's business.
                                                                        Is the claim subject to offset?    No  Yes
     3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $74.18
              B & C ACE Home Center                                      Contingent
              2032 NEVADA CITY HWY                                       Unliquidated
              GRASS VALLEY, CA 95945                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Supplier.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $33,432.20
              Bank of America                                            Contingent
              Bk Dept SL1-908-01-50                                      Unliquidated
              4909 Savarese Circle                                       Disputed
              Tampa, FL 33634
                                                                        Basis for the claim: Credit card. Business cash rewards
              Date(s) debt was incurred
              Last 4 digits of account number 9732                      Is the claim subject to offset?    No  Yes
     3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,890.90
              Bank of America                                            Contingent
              Bk Dept SL1-908-01-50                                      Unliquidated
              4909 Savarese Circle                                       Disputed
              Tampa, FL 33634
                                                                        Basis for the claim: Credit card. Business travel
              Date(s) debt was incurred
              Last 4 digits of account number 3713                      Is the claim subject to offset?    No  Yes
     3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $40,457.58
              Bank of America                                            Contingent
              Bk Dept SL1-908-01-50                                      Unliquidated
              4909 Savarese Circle                                       Disputed
              Tampa, FL 33634
                                                                        Basis for the claim: Credit card. Commercial card
              Date(s) debt was incurred
              Last 4 digits of account number 3192                      Is the claim subject to offset?    No  Yes
     3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $57,973.85
              Bank of America                                            Contingent
              Bk Dept SL1-908-01-50                                      Unliquidated
              4909 Savarese Circle                                       Disputed
              Tampa, FL 33634
                                                                        Basis for the claim: Credit card in Debtor's President's name used for
              Date(s) debt was incurred
                                                                        Debtor's business.
              Last 4 digits of account number 1893
                                                                        Is the claim subject to offset?    No  Yes
     3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $42,110.48
              Bank of America                                            Contingent
              Bk Dept SL1-908-01-50                                      Unliquidated
              4909 Savarese Circle                                       Disputed
              Tampa, FL 33634
                                                                        Basis for the claim: Credit card. Business cash rewards.
              Date(s) debt was incurred
              Last 4 digits of account number 3259                      Is the claim subject to offset?    No  Yes
     3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,280.58
              Bank of America Business MasterCard                        Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,283.43
              Bank of America Business MasterCard                        Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes



    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 5 of 18
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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $33,494.34
              Bank of America Business MasterCard                        Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,433.30
              Bank of America Commercial Visa                            Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $127.95
              Bank of America Commercial Visa                            Contingent
              Rick Beaty's Card                                          Unliquidated
              PO Box 660441                                              Disputed
              Dallas, TX 75266-0441
                                                                        Basis for the claim: Business credit card.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,120.39
              Bank of America Commercial Visa                            Contingent
              Jonathan Harvey's Card                                     Unliquidated
              PO Box 660441                                              Disputed
              Dallas, TX 75266-0441
                                                                        Basis for the claim: Business credit card.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,307.55
              Bank of America Commercial Visa                            Contingent
              Authorized Rep Card                                        Unliquidated
              PO Box 660441                                              Disputed
              Dallas, TX 75266-0441
                                                                        Basis for the claim: Business credit card.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $24,011.46
              Bank of America Travel Visa                                Contingent
              Jonathan's Card                                            Unliquidated
              PO BOX 660441                                              Disputed
              Dallas, TX 75266-0441
                                                                        Basis for the claim: Business credit card.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $197.83
              Bank of America Travel Visa                                Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $19,451.83
              Bank of America Travel Visa Card                           Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,681.73
              Bank of America Ultd Cash Rewards                          Contingent
              PO BOX 660441                                              Unliquidated
              Dallas, TX 75266-0441                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Business credit card.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $25,000.00
              Barry Taft                                                 Contingent
              1148 West First Street                                     Unliquidated
              Unit B                                                     Disputed
              Reno, NV 89503
                                                                        Basis for the claim: Loan
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,699.14
              BEARING ENGINEERING                                        Contingent
              667 McCormick Street                                       Unliquidated
              SAN LEANDRO, CA 94577-1109                                 Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $114,159.82
              Bill Me Later                                              Contingent
              9690 Deereco Rd Ste 705                                    Unliquidated
              Lutherville Timonium, MD 21093                             Disputed
              Date(s) debt was incurred April, 2024
                                                                        Basis for the claim: Arbitration Award
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,847.56
              BLUE SHIELD OF CALIFORNIA                                  Contingent
              Cash Receiving                                             Unliquidated
              FILE 55331                                                 Disputed
              LOS ANGELES, CA 90074-5331
                                                                        Basis for the claim: Insurance.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,200.00
              Brandlock                                                  Contingent
              56-1 Bergen Ridge Road                                     Unliquidated
              North Bergen, NJ 07047                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $647.50
              BRITISH MOTOR HERITAGE
              RANGE ROAD                                                 Contingent
              COTSWOLD BUSINESS PARK                                     Unliquidated
              WHITNEY OXON, 0X8 5YB                                      Disputed
              United Kingdom
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,296.96
              BRITISH WIRING                                             Contingent
              P.O. BOX 185                                               Unliquidated
              BALLY, PA 19503                                            Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,528.75
              Cintas Corporation                                         Contingent
              PO BOX 631025                                              Unliquidated
              CINCINNATI, OH 45263-1025                                  Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,356.74
              ClearFly Communications                                    Contingent
              Department LA 24287                                        Unliquidated
              PASADENA, CA 91185-4287                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $146.46
              Co Power                                                   Contingent
              PO BOX 884606                                              Unliquidated
              LOS ANGELES, CA 90088-4606                                 Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,500.00
              Comcast Corporation                                        Contingent
              1701 JFK Blvd                                              Unliquidated
              Philadelphia, PA 19103                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Utility service provider.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $923.90
              COVERKING                                                  Contingent
              PO BOX 9860                                                Unliquidated
              ANAHEIM, CA 92812-9860                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,373.08
              CRAVEN SPEED DLT, LLC.                                     Contingent
              7337 SW Tech Center Dr                                     Unliquidated
              PORTLAND, OR 97223                                         Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $343,262.00
              Customer Deposit, Gift Certificate                         Contingent
              and Returns                                                Unliquidated
              Date(s) debt was incurred                                  Disputed
              Last 4 digits of account number                           Basis for the claim: The Debtor holds over 1,400 customer deposits (1)
                                                                        for goods to be delivered, (2) returns and (3) gift certificates.
                                                                        Is the claim subject to offset?    No  Yes
     3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $427.92
              DAMES & ASSOCIATES L.L.C.                                  Contingent
              13002 N. 2ND ST                                            Unliquidated
              PHOENIX, AZ 85022                                          Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim:
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $100,746.66
              Debt Savvy                                                 Contingent
              39 Broadway 32nd Flr                                       Unliquidated
              New York, NY 10046                                         Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Debt settlement company charges. Creditor recently
              Last 4 digits of account number                           attempted withdrawing $13,500 from Debtor's bank account.
                                                                        Is the claim subject to offset?    No  Yes
     3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $179.32
              Dischbein MotorSports                                      Contingent
              Frank Dischbein                                            Unliquidated
              5171 REITER AVE                                            Disputed
              LAS VEGAS, NV 89108
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,103.96
              Discover Financial Services                                Contingent
              Attn: President, CEO, Officer                              Unliquidated
              2500 Lake Cook Rd                                          Disputed
              Deerfield, IL 60015
                                                                        Basis for the claim: Credit card in Debtor's President's name used for
              Date(s) debt was incurred
                                                                        Debtor's business.
              Last 4 digits of account number 0967
                                                                        Is the claim subject to offset?    No  Yes
     3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $40,212.13
              Divvy Bill.com                                             Contingent
              c/o Caine & Weiner                                         Unliquidated
              PO Box 55848                                               Disputed
              Sherman Oaks, CA 91413
                                                                        Basis for the claim: Divvy Visa
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes


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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,000.00
              Donald F. Racine                                           Contingent
              13733 Highland Dr                                          Unliquidated
              Grass Valley, CA 95945                                     Disputed
              Date(s) debt was incurred 07/01/2019
                                                                        Basis for the claim: Workshop rent.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $315,590.57
              Donald F. Racine                                           Contingent
              13733 Highland Dr                                          Unliquidated
              Grass Valley, CA 95945                                     Disputed
              Date(s) debt was incurred June, 2019
                                                                        Basis for the claim: Purchase of goodwill
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $20,953.19
              EARTH CUSTOMS                                              Contingent
              28441 Highridge Rd.                                        Unliquidated
              Unit 101                                                   Disputed
              ROLLING HILLS ESTATE, CA 90274
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,382.55
              EBC BRAKES USA, Ltd.                                       Contingent
              6180 S. Pearl Street Suite A                               Unliquidated
              LAS VEGAS, NV 89120                                        Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,800.00
              ED D'ARATA                                                 Contingent
              12120 MURPHEY ROAD                                         Unliquidated
              NEVADA CITY, CA 95959                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $48,973.00
              FEDERAL EXPRESS CORPORATION                                Contingent
              PO BOX 7221                                                Unliquidated
              PASADENA, CA 91109-7321                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,000.00
              Hedges Management, Inc                                     Contingent
              DBA Hedges & Company                                       Unliquidated
              5603 Darrow Road #100                                      Disputed
              HUDSON, OH 44236-5015
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $200.00
              HUFFAKER RACING                                            Contingent
              29601 ARNOLD DR.                                           Unliquidated
              SONOMA, CA 95476                                           Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,109.91
              Humana, Inc.                                               Contingent
              PO Box 14209                                               Unliquidated
              LEXINGTON, KY 40512-4209                                   Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $463.92
              INSYNC BUSINESS SOLUTIONS                                  Contingent
              2530 N POWERLINE RD SUITE 404                              Unliquidated
              POMPANO BEACH, FL 33069                                    Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,041.48
              InterAmerican Motor Corporation                            Contingent
              Parts Authority LLC                                        Unliquidated
              PO Box 748957                                              Disputed
              LOS ANGELES, CA 90074-8957
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,975.00
              James W. Toft & Associates, Inc.                           Contingent
              563 Brunswick Road #12                                     Unliquidated
              GRASS VALLEY, CA 95945                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: CPA Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,112.36
              JM Turbo Coopers, LLC                                      Contingent
              530 E. Hunt Hwy. Ste 103                                   Unliquidated
              SAN TAN VALLEY, AZ 85143                                   Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,680.42
              Johnston Research & Performance Inc
              2344 South Sheridan Way                                    Contingent
              Mississuaga, On                                            Unliquidated
              L5J 2M4                                                    Disputed
              Canada
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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     3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $561,278.05
              Jonathan Harvey                                            Contingent
              10340 Banner Lava Cap Rd                                   Unliquidated
              Nevada City, CA 95959                                      Disputed
              Date(s) debt was incurred 2023
                                                                        Basis for the claim: Loans.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $417.13
              Jorgensen Company                                          Contingent
              PO BOX 888655                                              Unliquidated
              LOS ANGELES, CA 90088-8655                                 Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $37,721.15
              JP Morgan Chase Bank NA                                    Contingent
              Mail Code LA4-7100                                         Unliquidated
              700 Kansas Lane                                            Disputed
              Monroe, LA 71203
                                                                        Basis for the claim: Credit card in Debtor's President's name used for
              Date(s) debt was incurred
                                                                        Debtor's business.
              Last 4 digits of account number 6652
                                                                        Is the claim subject to offset?    No  Yes
     3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $21,342.47
              JP Morgan Chase Bank NA                                    Contingent
              Mail Code LA4-7100                                         Unliquidated
              700 Kansas Lane                                            Disputed
              Monroe, LA 71203
                                                                        Basis for the claim: Credit card in Debtor's President's name used for
              Date(s) debt was incurred
                                                                        Debtor's business.
              Last 4 digits of account number 3055
                                                                        Is the claim subject to offset?    No  Yes
     3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $173,504.00
              Kapitus LLC                                                Contingent
              2500 Wilson Blvd Ste 350                                   Unliquidated
              Arlington, VA 22201                                        Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: MCA Agreement, no UCC-1 filed.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $588.44
              MAHLE Industries, Inc.                                     Contingent
              PO Box 13254                                               Unliquidated
              NEWARK, NJ 07101-3254                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $780.86
              MANIFLOW and COMPANY LTD
              MITCHELL ROAD                                              Contingent
              CHURCHFIELD INDUSTRIAL ESTATE                              Unliquidated
              SALISBURY, WILTS, SP2 7PY                                  Disputed
              United Kingdom
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes



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     3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,725.82
              MapCargo International Ltd
              Unit 1A, Westgate One                                      Contingent
              Staines Road, Bedfont                                      Unliquidated
              Middlesex, TW14 8RS                                        Disputed
              United Kingdom
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,500.00
              Menture, Inc.
              360 Venture Acquisitions                                   Contingent
              5000 Younge St., Suite 1901                                Unliquidated
              Toronto ON, M2N 7E9                                        Disputed
              Canada
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $141,705.20
              Michael Abramson                                           Contingent
              1401 Baltic Ave                                            Unliquidated
              Virginia Beach, VA 23451                                   Disputed
              Date(s) debt was incurred July, 2022
                                                                        Basis for the claim: Seven Enterprises asset sale liability.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $80,350.47
              Michael Kearney                                            Contingent
              13711 Highland Dr                                          Unliquidated
              Grass Valley, CA 95945                                     Disputed
              Date(s) debt was incurred July, 2022
                                                                        Basis for the claim: Seven Enterprises asset sale liability.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $76,753.41
              Mini Spares Centre, Ltd
              13 Cranbourne Industrial Estate                            Contingent
              Cranbourne Road, Potters Bar                               Unliquidated
              Hertsfordshire, EN6 3JN                                    Disputed
              United Kingdom
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $71.94
              MOTIVE PRODUCTS/AGS COMPANY                                Contingent
              PO BOX 772043                                              Unliquidated
              DETROIT, MI 48277                                          Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $89.01
              Motor Warehouse                                            Contingent
              Nat'l Performance Wrhse - A/R                              Unliquidated
              5801 E 10TH AVE STE 112                                    Disputed
              HIALEAH, FL 33013
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes


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     3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $23.57
              MSC INDUSTRIAL SUPPLY CO.                                  Contingent
              PO BOX 953635                                              Unliquidated
              SAINT LOUIS, MO 63195-3635                                 Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,942.00
              Name South, LLC                                            Contingent
              128 Fast Lane                                              Unliquidated
              MOORESVILLE, NC 28117                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,457.70
              NAPA AUTO PARTS                                            Contingent
              FILE 56893                                                 Unliquidated
              LOS ANGELES, CA 90074-8693                                 Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $103.00
              NERP LLC                                                   Contingent
              58016 CRUMSTON HWY                                         Unliquidated
              SOUTH BEND, IN 46619                                       Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,823.00
              Pacific Gas & Electric                                     Contingent
              77 Beale St                                                Unliquidated
              San Francisco, CA 94105                                    Disputed
              Date(s) debt was incurred April, 2024
                                                                        Basis for the claim: Utility service provider
              Last 4 digits of account number 4709
                                                                        Is the claim subject to offset?    No  Yes
     3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $981.62
              Patterson Fabrication LLC                                  Contingent
              2851 E. Gamebird                                           Unliquidated
              PAHRUMP, NV 89048                                          Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $320.00
              Pete's Welding & Machine                                   Contingent
              509 Searls Ave.                                            Unliquidated
              NEVADA CITY, CA 95959                                      Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 14 of 18
Filed 06/04/24                                                        Case 24-22456                                                                      Doc 1

     Debtor      Mini Mania Inc.                                                                 Case number (if known)
                 Name

     3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,332.22
              PIERCE MANIFOLDS                                           Contingent
              2339 TECHNOLOGY DR SUITE F                                 Unliquidated
              HOLLISTER, CA 95023                                        Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $85,000.00
              Racine Properties                                          Contingent
              13733 Highland Dr                                          Unliquidated
              Grass Valley, CA 95945                                     Disputed
              Date(s) debt was incurred January, 2023
                                                                        Basis for the claim: Rent.
              Last 4 digits of account number N001
                                                                        Is the claim subject to offset?    No  Yes
     3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,500.00
              RACINE WEB DESIGN                                          Contingent
              15293 BEEMAN LANE                                          Unliquidated
              GRASS VALLEY, CA 95949                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $306.66
              SPEED WAREHOUSE                                            Contingent
              Nat'l Performance Wrhse - A/R                              Unliquidated
              3626 WEST PARKWAY BLVD                                     Disputed
              WEST VALLEY, UT 84120
                                                                        Basis for the claim: Vendor/Services.
              Date(s) debt was incurred
              Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
     3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $715.50
              SSF IMPORTED AUTO PARTS                                    Contingent
              437 ROZZI PLACE                                            Unliquidated
              SOUTH SAN FRANCISCO, CA 94080                              Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $211.11
              TURNER MOTORSPORT                                          Contingent
              16 SO HUNT RD                                              Unliquidated
              AMESBURY, MA 01913                                         Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes
     3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,346.16
              ULINE                                                      Contingent
              PO Box 88741                                               Unliquidated
              CHICAGO, IL 60680-1741                                     Disputed
              Date(s) debt was incurred
                                                                        Basis for the claim: Vendor/Services.
              Last 4 digits of account number
                                                                        Is the claim subject to offset?    No  Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 15 of 18
Filed 06/04/24                                                              Case 24-22456                                                                                   Doc 1

     Debtor       Mini Mania Inc.                                                                       Case number (if known)
                  Name

     3.90      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $1,317.76
               Unishippers                                                      Contingent
               901 Sunrise Avenue                                               Unliquidated
               Suite B1                                                         Disputed
               ROSEVILLE, CA 95661-4521
                                                                               Basis for the claim: Vendor/Services.
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
     3.91      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $228.94
               VIKING CLOUD INC                                                 Contingent
               DEPT CH 17101                                                    Unliquidated
               PALATINE, IL 60055-7101                                          Disputed
               Date(s) debt was incurred
                                                                               Basis for the claim: Vendor/Services.
               Last 4 digits of account number
                                                                               Is the claim subject to offset?    No  Yes
     3.92      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $220.00
               WANDERLOST OVERLAND                                              Contingent
               2328 RANDOLPH ST                                                 Unliquidated
               MARK & MERRI MORRALL                                             Disputed
               CALEDONIA, IL 61011
                                                                               Basis for the claim: Vendor/Services.
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
     3.93      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $954.51
               WASTE MANAGEMENT OF NEVADA                                       Contingent
               COUNTY                                                           Unliquidated
               PO Box 541065                                                    Disputed
               LOS ANGELES, CA 90054-1065
                                                                               Basis for the claim: Utility service provider.
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
     3.94      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $512.40
               WH Motors
               Hortonwood 10, Unit C4                                           Contingent
               TF1 4ES                                                          Unliquidated
               Telford, Shropshire                                              Disputed
               United Kingdom
                                                                               Basis for the claim: Vendor
               Date(s) debt was incurred
               Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes

     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                        related creditor (if any) listed?              account number, if
                                                                                                                                                       any
     4.1       American Express Lending aka Kabbage
               Attn: Legal Department                                                                   Line     3.9
               3370 N. Hayden Rd #123 PMB 681
               Scottsdale, AZ 85251                                                                           Not listed. Explain


     4.2       Bank of America Corporate Center
               Attn: President, CEO, Officer                                                            Line     3.13
               100 North Tyron St
               Charlotte, NC 28255                                                                            Not listed. Explain




    Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 18
Filed 06/04/24                                                         Case 24-22456                                                                           Doc 1

     Debtor      Mini Mania Inc.                                                           Case number (if known)
                 Name

               Name and mailing address                                                    On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                           related creditor (if any) listed?              account number, if
                                                                                                                                          any
     4.3       Bueau of Automotive Repair
               Attn: Legal Department                                                      Line      2.1
               10949 N Mather Blvd
               Rancho Cordova, CA 95670                                                          Not listed. Explain


     4.4       California Dept of Tax & Fee Admin
               450 N St MIC:56                                                             Line      2.2
               Sacramento, CA 95814
                                                                                                 Not listed. Explain

     4.5       California Dept of Tax & Fee Admin
               Acct Info Group MIC: 29                                                     Line      2.2
               PO Box 942879
               Sacramento, CA 94279-0029                                                         Not listed. Explain


     4.6       CT Corporation System As Rep
               Attn: SPRS, Discover Financial Services                                     Line      3.46
               330 N Brand Blvd Ste 700
               Glendale, CA 91203                                                                Not listed. Explain


     4.7       Discover Financial Services
               Attn: Legal Subpoena Processing                                             Line      3.46
               2500 Lake Cook Rd
               Deerfield, IL 60015                                                               Not listed. Explain


     4.8       Employment Development Department
               PO Box 826215 MIC3A                                                         Line      2.3
               Sacramento, CA 94230-6215
                                                                                                 Not listed. Explain

     4.9       Foley & Lardner LLP
               90 Park Ave                                                                 Line      3.31
               New York, NY 10016
                                                                                                 Not listed. Explain

     4.10      JPMorgan Chase Bank NA
               Attn: President, CEO, Officer                                               Line      3.64
               1111 Polaris Pkwy
               Columbus, OH 43240                                                                Not listed. Explain


     4.11      Paypal Inc.
               Attn: Legal Department                                                      Line      3.31
               PO Box 45950
               Omaha, NE 68145-0950                                                              Not listed. Explain


     4.12      Swift Financial, LLC
               3505 Silverside Rd                                                          Line      3.31
               Wilmington, DE 19810
                                                                                                 Not listed. Explain

     4.13      Waste Management
               800 Capitol St Ste 3000                                                     Line      3.93
               Houston, TX 77002
                                                                                                 Not listed. Explain


     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                Total of claim amounts
     5a. Total claims from Part 1                                                              5a.          $                      8,773.76
     5b. Total claims from Part 2                                                              5b.    +     $                  2,796,778.40


    Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 17 of 18
Filed 06/04/24                                 Case 24-22456                                                           Doc 1

     Debtor     Mini Mania Inc.                                      Case number (if known)
                Name


     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                            5c.     $             2,805,552.16




    Official Form 206 E/F         Schedule E/F: Creditors Who Have Unsecured Claims                          Page 18 of 18
Filed 06/04/24                                                          Case 24-22456                                                                              Doc 1

     Fill in this information to identify the case:

     Debtor name        Mini Mania Inc.

     United States Bankruptcy Court for the:      EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.      Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

     2.1.         State what the contract or           Oral contract with
                  lease is for and the nature of       Donald Racine to rent a
                  the debtor's interest                workshop. $1,000 per
                                                       month. Mini Mania, Inc.
                                                       intends to end this
                                                       arrangement.
                     State the term remaining
                                                                                         Donald F. Racine
                  List the contract number of any                                        13733 Highland Dr
                        government contract                                              Grass Valley, CA 95945


     2.2.         State what the contract or           Office/Warehouse
                  lease is for and the nature of       space 3-year lease
                  the debtor's interest                renewed May, 2024.

                     State the term remaining          05/31/2027
                                                                                         Racine Properties
                  List the contract number of any                                        13733 Highland Dr
                        government contract                                              Grass Valley, CA 95945




    Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
Filed 06/04/24                                                      Case 24-22456                                                                           Doc 1

     Fill in this information to identify the case:

     Debtor name      Mini Mania Inc.

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                   amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

         1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
      2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
         on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
               Column 1: Codebtor                                                                        Column 2: Creditor



               Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                                    that apply:

       2.1     Jonathan Harvey             10340 Banner Lava Cap Rd                                 CT Corporation                  D       2.7
                                           Nevada City, CA 95959                                    System As Rep                    E/F
                                           Listed Debtor on UCC-1 Filing.
                                                                                                                                    G



       2.2     Jonathan Harvey             10340 Banner Lava Cap Rd                                 Bank of America                 D
                                           Nevada City, CA 95959                                                                     E/F        3.16
                                                                                                                                    G



       2.3     Jonathan Harvey             10340 Banner Lava Cap Rd                                 JP Morgan Chase                 D
                                           Nevada City, CA 95959                                    Bank NA                          E/F        3.64
                                                                                                                                    G



       2.4     Jonathan Harvey             10340 Banner Lava Cap Rd                                 Discover Financial              D
                                           Nevada City, CA 95959                                    Services                         E/F        3.46
                                                                                                                                    G



       2.5     Jonathan Harvey             10340 Banner Lava Cap Rd                                 American Express                D
                                           Nevada City, CA 95959                                    National Bank                    E/F        3.11
                                                                                                                                    G



    Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 3
Filed 06/04/24                                                 Case 24-22456                                                               Doc 1

     Debtor    Mini Mania Inc.                                                         Case number (if known)



              Additional Page to List More Codebtors
              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
               Column 1: Codebtor                                                          Column 2: Creditor



       2.6     Jonathan Harvey          10340 Banner Lava Cap Rd                            Amazon Capital               D      2.1
                                        Nevada City, CA 95959                               Services, Inc.                E/F
                                                                                                                         G



       2.7     Jonathan Harvey          10340 Banner Lava Cap Rd                            American Express             D      2.2
                                        Nevada City, CA 95959                               National Bank                 E/F
                                                                                                                         G



       2.8     Jonathan Harvey          10340 Banner Lava Cap Rd                            Arena Funding                D      2.3
                                        Nevada City, CA 95959                               Source LLC                    E/F
                                                                                                                         G



       2.9     Jonathan Harvey          10340 Banner Lava Cap Rd                            Bank of America,             D      2.4
                                        Nevada City, CA 95959                               N.A.                          E/F
                                                                                                                         G



       2.10    Jonathan Harvey          10340 Banner Lava Cap Rd                            CHTD Company                 D      2.5
                                        Nevada City, CA 95959                                                             E/F
                                                                                                                         G



       2.11    Jonathan Harvey          10340 Banner Lava Cap Rd                            Corporation Service          D      2.6
                                        Nevada City, CA 95959                               Company                       E/F
                                                                                                                         G



       2.12    Jonathan Harvey          10340 Banner Lava Cap Rd                            CT Corporation               D      2.8
                                        Nevada City, CA 95959                               System As Rep                 E/F
                                                                                                                         G



       2.13    Jonathan Harvey          10340 Banner Lava Cap Rd                            CT Corporation               D      2.9
                                        Nevada City, CA 95959                               System As Rep                 E/F
                                                                                                                         G



    Official Form 206H                                               Schedule H: Your Codebtors                                   Page 2 of 3
Filed 06/04/24                                                 Case 24-22456                                                               Doc 1

     Debtor    Mini Mania Inc.                                                         Case number (if known)



              Additional Page to List More Codebtors
              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
               Column 1: Codebtor                                                          Column 2: Creditor



       2.14    Jonathan Harvey          10340 Banner Lava Cap Rd                            CT Corporation               D      2.10
                                        Nevada City, CA 95959                               System As Rep                 E/F
                                                                                                                         G



       2.15    Jonathan Harvey          10340 Banner Lava Cap Rd                            Goldman Sachs Bank           D      2.11
                                        Nevada City, CA 95959                               USA                           E/F
                                                                                                                         G



       2.16    Jonathan Harvey          10340 Banner Lava Cap Rd                            Bill Me Later                D
                                        Nevada City, CA 95959                                                             E/F    3.31
                                                                                                                         G




    Official Form 206H                                               Schedule H: Your Codebtors                                   Page 3 of 3
Filed 06/04/24                                                                                      Case 24-22456                                                                                                     Doc 1

     Fill in this information to identify the case:

     Debtor name           Mini Mania Inc.

     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

     Part 1:     Summary of Assets


     1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          1a. Real property:
              Copy line 88 from Schedule A/B.............................................................................................................................                   $                   0.00

          1b. Total personal property:
              Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,155,121.56

          1c. Total of all property:
              Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,155,121.56


     Part 2:     Summary of Liabilities


     2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         506,961.28


     3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          3a. Total claim amounts of priority unsecured claims:
              Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               8,773.76

          3b. Total amount of claims of nonpriority amount of unsecured claims:
              Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,796,778.40


     4.   Total liabilities .......................................................................................................................................................
          Lines 2 + 3a + 3b                                                                                                                                                            $          3,312,513.44




     Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Filed 06/04/24                                                        Case 24-22456                                                                        Doc 1




     Fill in this information to identify the case:

     Debtor name        Mini Mania Inc.

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:    Income

    1. Gross revenue from business

          None.
          Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                      Gross revenue
          which may be a calendar year                                                    Check all that apply                    (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the fiscal year to filing date:                            Operating a business                            $813,299.06
          From 1/01/2024 to Filing Date
                                                                                           Other P&L (Accrual)

          For prior year:                                                                  Operating a business                          $3,419,091.02
          From 1/01/2023 to 12/31/2023
                                                                                           Other P&L

          For year before that:                                                            Operating a business                          $5,484,311.00
          From 1/01/2022 to 12/31/2022
                                                                                           Other 2022 Tax Return
    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.
                                                                                          Description of sources of revenue       Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the fiscal year to filing date:
          From 1/01/2024 to Filing Date                                                   Google Affiliate Commission                              $259.14


          For prior year:                                                                 Moke American (Google)
          From 1/01/2023 to 12/31/2023                                                    Commission                                         $23,608.40


          For prior year:
          From 1/01/2023 to 12/31/2023                                                    ERTC Refund (2020, 2021)                          $175,938.46




    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Filed 06/04/24                                                        Case 24-22456                                                                             Doc 1
     Debtor      Mini Mania Inc.                                                                   Case number (if known)



                                                                                          Description of sources of revenue            Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)
          For prior year:
          From 1/01/2023 to 12/31/2023                                                    Interest                                                 $11,435.26


     Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.
          Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                          Check all that apply
          3.1.
                  Bank of America                                     Various                          $50,541.74          Secured debt
                  Bk Dept SL1-908-01-50                                                                                    Unsecured loan repayments
                  4909 Savarese Circle
                                                                                                                           Suppliers or vendors
                  Tampa, FL 33634
                                                                                                                           Services
                                                                                                                           Other

          3.2.
                  Blue Shield of California                           Various                          $13,641.26          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other Insurance.

          3.3.
                  Clear Pay Processing                                Various                          $17,549.21          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other Supplier/Vendor
                                                                                                                          repayments.

          3.4.
                  Debt Savvy                                          Various                          $10,235.00          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other

          3.5.
                  East Bay Mini/BMW                                   Various                          $53,942.29          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other

          3.6.
                  Johnson Research & Performance                      Various                          $24,658.60          Secured debt
                                                                                                                           Unsecured loan repayments
                                                                                                                           Suppliers or vendors
                                                                                                                           Services
                                                                                                                           Other

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          Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
          3.7.
                  Niello Mini / BMW                                Various                          $74,344.59          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

          3.8.
                  Racine Properties                                Various                          $10,000.00          Secured debt
                  309 Katie Lane                                                                                        Unsecured loan repayments
                  Easley, SC 29640
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

          3.9.
                  SSF Imported Auto Parts                          Various                          $11,748.00          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

          3.10
          .    California Dept of Tax & Fee Admin                  Various                            $8,352.42         Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other Priority taxes and fees

          3.11
          .    Mini Spares Centre Ltd                              Various                          $30,950.70          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

          3.12
          .    United Parcel Service                               Various                          $31,005.49          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

          3.13
          .    American Express                                    Various                          $24,776.48          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other




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    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
       may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.
          Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
          Relationship to debtor
          4.1.    Jonathan Harvey                                      Various                         $143,888.95           $79,667.00 for Payroll/Salry
                  10340 Banner Lava Cap Rd                                                                                   $1,500 for Owner Distributions
                  Nevada City, CA 95959                                                                                      $62,721.95 for Repaying
                  President                                                                                                  Personal Loans

          4.2.    Logan Harvey                                         Various                          $35,059.41           Payroll
                  15719 Rattlesnake Rd
                  Grass Valley, CA 95945
                  President's Son

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None
          Creditor's name and address                      Describe of the Property                                        Date                 Value of property

          Firstline Advance                                PayPal withdrew funds from the Debtor's                                                   $22,491.37
          Attn: The LLC                                    PayPal account in response to the UCC-1
          99 Wall Street, 2615                             filed by Firstline Advance.
          New York, NY 10005


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

          None
          Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                           taken

     Part 3:     Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

          None.
                  Case title                               Nature of case              Court or agency's name and                 Status of case
                  Case number                                                          address
          7.1.    Firstline Advance, LLC v. Mini           Civil action                Supreme Court of New York                   Pending
                  Mania Inc., Jonathan Harvey                                          County of Ontario                           On appeal
                  138335-2024                                                          27 North Main St
                                                                                                                                   Concluded
                                                                                       Canandaigua, NY 14424

          7.2.    Bill Me Later, Inc. vs Mini              Arbitration                 American Arbitration Award                  Pending
                  Mania, Inc. and Jonathan                 (PayPal)                    725 S Figueroa St #400                      On appeal
                  Harvey                                                               Los Angeles, CA 90017                       Concluded
                  01-23-0004-7634

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    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

     Part 4:      Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

          None
                   Recipient's name and address           Description of the gifts or contributions                  Dates given                         Value


     Part 5:      Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None
          Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
          how the loss occurred                                                                                                                          lost
                                                          If you have received payments to cover the loss, for
                                                          example, from insurance, government compensation, or
                                                          tort liability, list the total received.

                                                          List unpaid claims on Official Form 106A/B (Schedule
                                                          A/B: Assets – Real and Personal Property).

     Part 6:      Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

          None.
                    Who was paid or who received            If not money, describe any property transferred               Dates               Total amount or
                    the transfer?                                                                                                                      value
                    Address
          11.1.                                             Mini Mania, Inc. paid $5,000 on May 9,
                                                            2024
                    The Fox Law Corporation,                Mini Mania, Inc. paid $23,262 on May 20,
                    Inc.                                    2024
                    17835 Ventura Blvd Ste 306              Mini Mania, Inc. paid $5,000 on May 29,
                    Encino, CA 91316                        2024                                                          May, 2024               $28,262.00

                    Email or website address
                    foxlaw.com

                    Who made the payment, if not debtor?




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                    Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                    the transfer?                                                                                                                        value
                    Address
          11.2.     The Fox Law Corporation,
                    Inc.
                    17835 Ventura Blvd Ste 306                The Harvey Family Trust paid $20,000 on                      May 17,
                    Encino, CA 91316                          May 17, 2024                                                 2024                     $20,000.00

                    Email or website address
                    foxlaw.com

                    Who made the payment, if not debtor?
                    Harvey Family Trust



    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

          None.
          Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                                  were made                              value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.
                   Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
                   Address                                 payments received or debts paid in exchange               was made                            value

     Part 7:      Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply
                    Address                                                                                            Dates of occupancy
                                                                                                                       From-To

     Part 8:      Health Care Bankruptcies

    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

              No. Go to Part 9.
          Yes. Fill in the information below.

                    Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                           the debtor provides                                                       and housing, number of
                                                                                                                                     patients in debtor’s care

     Part 9:      Personally Identifiable Information




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    16. Does the debtor collect and retain personally identifiable information of customers?

          No.
               Yes. State the nature of the information collected and retained.

                    Customer name, address, city, state, zip code, email address,
                    telephone number, and encrypted payment information.
                    Does the debtor have a privacy policy about that information?
                     No
                     Yes
    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

               No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

     Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

          None
                   Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
                   Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                                   moved, or                              transfer
                                                                                                                   transferred

    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


          None
          Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?
                                                                 Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


          None
          Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?
          Map Cargo                                              Mini Mania, Inc.                      Product with a value likely                  No
                                                                 870 Gold Flat Rd Ste A                less than $2,500.                            Yes
                                                                 Nevada City, CA
                                                                 95959-3200



     Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

         None
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          Owner's name and address                              Location of the property              Describe the property                                    Value
          Various                                               870 Gold Flat Rd Ste A                Emploee personal tools left                           Unknown
                                                                Nevada City, CA                       on-site
                                                                95959-3200

          Owner's name and address                              Location of the property              Describe the property                                    Value
          Various                                               870 Gold Flat Rd Ste A                Non-Shipped/Collected client                          Unknown
                                                                Nevada City, CA                       product
                                                                95959-3200


     Part 12:    Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
         owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
         similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No.
          Yes. Provide details below.
          Case title                                            Court or agency name and              Nature of the case                            Status of case
          Case number                                           address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

               No.
          Yes. Provide details below.
          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

               No.
          Yes. Provide details below.
          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

     Part 13:    Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

          None
       Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           Dates business existed

    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


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               None
          Name and address                                                                                                              Date of service
                                                                                                                                        From-To

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

               None
          Name and address                                                                                                              Date of service
                                                                                                                                        From-To
          26b.1.        Mini Mania, Inc.                                                                                                The Debtor prepares
                                                                                                                                        internal financial
                                                                                                                                        reports at various
                                                                                                                                        times.

        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None
          Name and address                                                                               If any books of account and records are
                                                                                                         unavailable, explain why
          26c.1.        Mini Mania, Inc.
                        870 Gold Flat Rd Ste A
                        Nevada City, CA 95959-3200

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

               None
          Name and address
          26d.1.  Bank of America
                        Bk Dept SL1-908-01-50
                        4909 Savarese Circle
                        Tampa, FL 33634
          26d.2.        Bank of the West
                        180 Montgomery St
                        San Francisco, CA 94104
          26d.3.        Arena Funding Source LLC (MCA)


          26d.4.        Capital Assist (MCA)


          26d.5.        Credibly (MCA)


          26d.6.        Crest Capital (MCA)


          26d.7.        Delta Capital (MCA)


          26d.8.        Finpoint Funding (MCA)




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          Name and address
          26d.9.        Firstline Advance (MCA)


          26d.10.       Lendini (MCA)


          26d.11.       Riverpointe (MCA - Broker)


          26d.12.       Square Funding (MCA)


          26d.13.       Tag Capital (MCA - Broker)


          26d.14.       Fox Funding (MCA)



    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
              Yes. Give the details about the two most recent inventories.

                   Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
                   inventory                                                                                    or other basis) of each inventory
          27.1 Jonathan Harvey                                                                                  Varies over the usual course of
          .                                                                            12/2023                  business

                   Name and address of the person who has possession of
                   inventory records
                   Mini Mania, Inc.
                   870 Gold Flat Rd Ste A
                   Nevada City, CA 95959-3200


    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

          Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                     interest                                any
          Jonathan Harvey                        10340 Banner Lava Cap Rd                            President/Owner                         100%
                                                 Nevada City, CA 95959



    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


              No
          Yes. Identify below.

    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

          No
              Yes. Identify below.


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  Fill in this information to identify the case:
  Debtor name Mini Mania Inc.
  United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                             Check if this is an
                                                 CALIFORNIA
  Case number (if known):                                                                                                                     amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  American Express                                    Credit card.                                                                                                $37,644.34
  National Bank                                       Business
  4315 South 2700                                     platinum
  West
  Salt Lake City, UT
  84184
  Bank of America                                     Credit card.                                                                                                $42,110.48
  Bk Dept                                             Business cash
  SL1-908-01-50                                       rewards.
  4909 Savarese
  Circle
  Tampa, FL 33634
  Bank of America                                     Credit card.                                                                                                $40,457.58
  Bk Dept                                             Commercial card
  SL1-908-01-50
  4909 Savarese
  Circle
  Tampa, FL 33634
  Bank of America                                     Credit card.                                                                                                $33,432.20
  Bk Dept                                             Business cash
  SL1-908-01-50                                       rewards
  4909 Savarese
  Circle
  Tampa, FL 33634
  Bank of America                                     Credit card in                                                                                              $57,973.85
  Bk Dept                                             Debtor's
  SL1-908-01-50                                       President's name
  4909 Savarese                                       used for Debtor's
  Circle                                              business.
  Tampa, FL 33634
  Bank of America                                     Business credit                                                                                             $33,494.34
  Business                                            card.
  MasterCard
  PO BOX 660441
  Dallas, TX
  75266-0441



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  Debtor     Mini Mania Inc.                                                                          Case number (if known)
             Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Bank of America                                     Business credit                                                                                             $30,433.30
  Commercial Visa                                     card.
  PO BOX 660441
  Dallas, TX
  75266-0441
  Barry Taft                                          Loan                                                                                                        $25,000.00
  1148 West First
  Street
  Unit B
  Reno, NV 89503
  Bill Me Later                                       Arbitration Award                                                                                         $114,159.82
  9690 Deereco Rd
  Ste 705
  Lutherville
  Timonium, MD
  21093
  Debt Savvy                                          Debt settlement   Disputed                                                                                $100,746.66
  39 Broadway 32nd                                    company charges.
  Flr                                                 Creditor recently
  New York, NY 10046                                  attempted
                                                      withdrawing
                                                      $13,500 from
                                                      Debtor's bank
                                                      account.
  Divvy Bill.com                                      Divvy Visa                                                                                                  $40,212.13
  c/o Caine & Weiner
  PO Box 55848
  Sherman Oaks, CA
  91413
  Donald F. Racine                                    Purchase of                                                                                               $315,590.57
  13733 Highland Dr                                   goodwill
  Grass Valley, CA
  95945
  FEDERAL EXPRESS                                     Vendor/Services.                                                                                            $48,973.00
  CORPORATION
  PO BOX 7221
  PASADENA, CA
  91109-7321
  JM Turbo Coopers,                                   Vendor/Services.                                                                                            $28,112.36
  LLC
  530 E. Hunt Hwy.
  Ste 103
  SAN TAN VALLEY,
  AZ 85143
  JP Morgan Chase                                     Credit card in                                                                                              $37,721.15
  Bank NA                                             Debtor's
  Mail Code LA4-7100                                  President's name
  700 Kansas Lane                                     used for Debtor's
  Monroe, LA 71203                                    business.




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  Debtor     Mini Mania Inc.                                                                          Case number (if known)
             Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Kapitus LLC                                         MCA Agreement,                                                                                            $173,504.00
  2500 Wilson Blvd                                    no UCC-1 filed.
  Ste 350
  Arlington, VA 22201
  Michael Abramson                                    Business assets.                                                                                          $141,705.20
  1401 Baltic Ave
  Virginia Beach, VA
  23451
  Michael Kearney                                     Business assets                                                                                             $80,350.47
  13711 Highland Dr
  Grass Valley, CA
  95945
  Mini Spares Centre,                                 Vendor/Services.                                                                                            $76,753.41
  Ltd
  13 Cranbourne
  Industrial Estate
  Cranbourne Road,
  Potters Bar
  Hertsfordshire, EN6
  3JN
  United Kingdom
  Racine Properties                                   Rent.                                                                                                       $85,000.00
  13733 Highland Dr
  Grass Valley, CA
  95945




  Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
